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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN




 United States of America,

                                    Plaintiff,

 v.                                                     Case No. 3:19−cr−20451−RHC−RSW
                                                        Hon. Robert H. Cleland
 Jay A. Schwartz,
                                    Defendant(s),




                            NOTICE OF TELEPHONIC CONFERENCE

    PLEASE TAKE NOTICE that a telephonic conference has been scheduled before District
 Judge Robert H. Cleland as follows:

     Plaintiff(s) attorneys are hereby notified to participate as well as the defense attorney(s)
 for: Jay A. Schwartz

        • STATUS CONFERENCE: September 1, 2021 at 02:00 PM

      The conference shall be initiated by the Court.

      If possible, please refrain from the use of cell phones. If a party wishes to be called at a
 number other than the one listed on the docket, please give that information to the party
 initiating the call.



                                       Certificate of Service

    I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
 record were served.

                                                 By: s/L. Wagner
                                                     Case Manager

 Dated: August 27, 2021
